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            EXHIBIT A
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                                                                     2022,” the first contactor paid Starks approximately $1,000
                    2024 WL 4528169                                  in cash for each of approximately five no-bid contracts. Id.
      Only the Westlaw citation is currently available.              at 8(b). The Complaint posits that the contractor understood,
       United States District Court, S.D. New York.                  based on the contractor's interactions with Starks and other
                                                                     NYCHA employees, that if they “did not make payments
             UNITED STATES OF AMERICA                                to STARKS, [they] would not be paid for work [they] had
                        v.                                           completed or would not receive future NYCHA contracting
             CHARLES STARKS, Defendant.                              work.” Id. ¶ 8(c).

                 Case No. 1:24-cr-00126 (JLR)                        The Government further alleges that the second contractor
                               |                                     likewise paid $1,000 in cash for each of approximately
                       Filed 10/18/2024                              two no-bid contracts at Mill Brooks Houses. Compl. ¶
                                                                     9(b). According to the Complaint, this contractor likewise
                                                                     understood that, if they did not make these payments, they
                  OPINION AND ORDER                                  “would not be paid for work [they] had completed or would
                                                                     not receive future NYCHA contracting work.” Compl. ¶ 9(c).
JENNIFER L. ROCHON United States District Judge
                                                                     On March 5, 2024, the Grand Jury returned an Indictment
 *1 On February 2, 2024, Defendant Charles Starks                    charging Starks with soliciting and receiving a bribe while
(“Starks”) was charged in a criminal complaint with one              acting as an agent of an organization receiving federal funds,
count of solicitation and receipt of a bribe and one count of        in violation of Section 666(a)(1)(B) of Title 18 (“Section
extortion under color of official right. Dkt. 1 (the “Complaint”     666(a)(1)(B)”)(Count One), and extortion under color of
or “Compl.”). On March 5, 2024, a grand jury sitting in this         official right, in violation of Section 1951 of Title 18
District charged Starks with one count of solicitation and           (“Section 1951”) (Count Two). See generally Ind. As alleged
receipt of a bribe by an organization receiving federal funds,       in Count One of the Indictment, from at least in or about
in violation of 18 U.S.C. § 666(a)(1)(B) (“Count One”); and          2015 though at least in or about 2022, Starks “solicited
one count of extortion under color of official right, in violation   and accepted a total of at least approximately $18,500 in
of 18 U.S.C. § 1951 (“Count Two”). Dkt. 8 (the “Indictment”          bribes in exchange for arranging for certain contractors to
or “Ind.”). Now before this Court is Stark's motion to dismiss       receive no-bid contracts from NYCHA worth a total of at least
Count One of the Indictment, or, in the alternative, for a bill of   approximately $130,245.” Ind. ¶ 1.
particulars to clarify the conduct referenced in the Indictment.
Dkt. 17.                                                              *2 On September 16, 2024, Starks filed the present
                                                                     motion. Dkt. 17 (“Def Br.”). Shortly thereafter, on September
For the reasons set forth below, Starks’ motions are DENIED.         27, 2024, the Government provided defense counsel with
                                                                     a disclosure letter providing additional details as to the
                                                                     approximate dates and locations of various bribe payments,
                       BACKGROUND                                    as well as the number of bribes received. Dkt. 18-1 at 1.
                                                                     The Government underscored that its letter “should not be
This matter arises from an investigation into widespread             construed as a formal bill of particulars,” and that additional
charges of bribery and extortion against seventy current and         information would be made available when the Government
former employees of the New York City Housing Authority              produced witness statements pursuant to 18 U.S.C. § 3500
(“NYCHA”), the largest public housing authority in the               (“Section 3500”) “in advance of trial.” Id. at 2. On September
country. Dkt. 6 at 1. According to the Complaint, beginning          30, 2024, the Government filed its opposition to Starks’
in late October 2019, Starks worked as a superintendent at the       motion. Dkt. 18 (“Gov't Opp.”). On October 6, 2024, Starks
Mill Brook Houses, a NYCHA development located in the                filed a reply brief. Dkt. 19 (“Reply Br.”).
Bronx. Compl. ¶ 7(a). The Government alleges that there were
two contractors who made payments to Starks in exchange
for no-bid contracts at Mill Brooks Houses. Compl. ¶¶ 8-9.
                                                                                            ARGUMENT
Specifically, “in or about March 2021 through in or about June



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Starks moves for dismissal of Count One of the Indictment or,       committed.” United States v. Shea, No. 20-cr-00412 (AT),
in the alternative, for a Bill of Particulars providing greater     2023 WL 4551635, at *3 (S.D.N.Y. July 14, 2023), aff'd,
detail as to the conduct alleged in the Indictment. The Court       No. 23--6482-cr, 2024 WL 2130874 (2d Cir. May 13, 2024)
first considers Starks’ motion to dismiss and next considers        (summary order) (citation and quotation marks omitted).
his alternative motion for a bill of particulars.
                                                                     *3 The Indictment against Starks easily clears this low
                                                                    threshold. 18 U.S.C. § 666 (“Section 666”) makes it a crime
I. Starks’ Motion to Dismiss                                        for an agent of a State or local government to “corruptly
“Under Federal Rule of Criminal Procedure 12(b), a court            solicit[ ] or demand[ ] for the benefit of any person, or
may dismiss an indictment for failure to state an offense.”         accept[ ] or agree[ ] to accept, anything of value from any
United States v. Pankey, No. 24-cr-00122 (MKV), 2024 WL             person, intending to be influenced or rewarded in connection
3522138, at *3 (S.D.N.Y. July 23, 2024); Fed. R. Crim.              with any business, transaction, or series of transactions of
P. 12(b)(3)(B)(v). “A criminal defendant is entitled to an          such organization, government, or agency involving any
indictment that states the essential elements of the charges        thing of value of $5,000 or more.” 18 U.S.C. § 666(a)(1)
against him.” United States v. Pirro, 212 F.3d 86, 91 (2d           (B). Count One “tracks the statutory language of § 666
Cir. 2000). However, “[a] defendant faces a high standard           and informs [Starks] of the approximate time period and
in seeking to dismiss an indictment, because an indictment          location of the offense.” United States v. Chambers, No.
need provide the defendant only a plain, concise, and definite      17-cr-00396 (WHP), 2018 WL 1726239, at *1 (S.D.N.Y.
written statement of the essential facts constituting the offense   Apr. 9, 2018). That is all that is required. See id.; see
charged.” United States v. Smith, 985 F. Supp. 2d 547, 561          also United States v. Alfonso, 143 F. 3d 772, 776 (2d Cir.
(S.D.N.Y. 2014), aff'd sub nom. United States v. Halloran, 664      1998) (holding that indictment “meets these basic pleading
F. App'x 23 (2d Cir. 2016), cert. denied sub nom. Tabone v.         requirements by accurately stating the elements of the offense
United States, 580 U.S. 1201 (2017); see Fed. R. Crim. P. 7(c).     charged and the approximate time and place of the [charged
Indeed, the “dismissal of an indictment is an extraordinary         crime]”); Heicklen, 858 F. Supp. 2d at 263 (the indictment
remedy reserved only for extremely limited circumstances            is “stated with sufficient specificity” where it “identifies
implicating fundamental rights.” United States v. Skelos, No.       the relevant time period, states the specific location of the
15-cr-00317 (MWV), 2015 WL 6159326, at *1 (S.D.N.Y.                 alleged crime, and provides a general description of [the
Oct. 20, 2015) (citation and quotation marks omitted). The          defendant's] activities”); United States v. Diallo, No. 09-
Second Circuit has described dismissal of an indictment             cr-00858 (SAS), 2009 WL 4277163, at *2 (S.D.N.Y. Nov.
as the “most drastic remedy available” and an “extreme              24, 2009) (indictment that “lack[ed] specifics” was sufficient
sanction,” United States v. Fields, 592 F.2d 638, 647 (2d Cir.      because “an indictment need do little more than to track
1978), that should be reserved for “very limited and extreme        the language of the statute charged and state the time and
circumstances.” United States v. Broward, 594 F.2d 345, 351         place in approximate terms of the alleged crime” (citation
(2d Cir. 1979).                                                     omitted)). The Indictment returned against Sparks specifies
                                                                    the timeframe in which the alleged bribery occurred (“in or
“The two requirements of an indictment are that it ‘contains        about 2015 through at least in or about 2022”); the amount
the elements of the offense charged and fairly informs a            in bribes Starks received (“at least approximately $18,500”);
defendant of the charge against which he must defend’ and           and the subject of the bribes (“no-bid contracts from NYCHA
that it ‘enables him to plead an acquittal or conviction in bar     worth a total of at least approximately $130,245”). Ind. ¶ 1.
of future prosecutions for the same offense.’ ” United States v.    Taken together, this information is more than adequate to put
Heicklen, 858 F. Supp. 2d 256, 262 (S.D.N.Y. 2012) (quoting         Starks on notice of the conduct with which he is charged.
United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007)).
“[T]he Second Circuit has consistently upheld indictments           Starks insist, however, that Count One of the Indictment
that do little more than to track the language of the statute       cannot survive the Supreme Court's ruling in Snyder v. United
charged and state the time and place (in approximate terms)         States, 144 S. Ct. 1947 (2024). Def. Br. at 5-7. In Snyder,
of the alleged crime.” Smith, 985 F. Supp. 2d at 561 (brackets      the Supreme Court held that Section 666 applies only to the
omitted) (quoting United States v. Bout, 731 F.3d 233, 240 (2d      solicitation and acceptance of bribes, not gratuities. 144 S. Ct.
Cir. 2013)); accord United States v. LaSpina, 299 F.3d 165,         at 1951. On that ground, the Supreme Court overturned the
177 (2d Cir. 2002) (quotations omitted). “Indictments do not        conviction of the former mayor of Portage, Indiana, who had
have to specify evidence or details of how the offense was


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been charged with bribery for taking a $13,000 check from a       proceeding on a bribery theory or a gratuities theory”). That
local truck company to whom the City had awarded contracts        assertion is readily refuted by reference to the Indictment,
totaling over $1 million. Id. at 1954. According to Starks,       which explicitly characterizes the payments exchanged as
here, as in Snyder, the Government is in effect asserting         “bribes,” not gratuities. Ind. ¶ 1. In this procedural posture,
a gratuities theory, premised on Starks “awarding a no-bid        the Court takes the “allegations of the indictment as true,”
contract to a contractor and then asking that contractor for a    and does not consider whether the Indictment is “supported
gift.” See Def. Br. at 7 (emphasis added). Starks characterizes   by adequate or competent evidence.” Skelos, 2015 WL
the Snyder decision as delineating between gratuities issued      6159326, at *2 (citation omitted). Moreover, the “to wit”
after an official act (which fall outside the scope of Section    clause alleges that Starks “solicited and accepted” $18,500
666), and bribes solicited or made prior to an official act       in bribes “in exchange for arranging for certain contractors
(which are prohibited by Section 666). Def Br. at 2. Starks       to receive no-bid contracts form NYCHA worth a total of at
argues that the Indictment asserts the former and therefore is    least approximately $130,245.” Ind. ¶ 1 (emphasis added).
not enforceable under Section 666 post-Snyder.                    That language is entirely consistent with a quid pro quo
                                                                  agreement, which implies a bribe and not a gratuity. See,
Starks, however, misconstrues both Snyder and the plain           e.g., United States v. Sun-Diamond Growers of Cal., 526
language of the Indictment returned against him. In Snyder,       U.S. 398, 404-05 (1999) (“[F]or bribery there must be a
the Court held that the characterization of a given payment       quid pro quo—a specific intent to give or receive something
as a “gratuity” versus a “bribe” turns not on the timing of       of value in exchange for an official act.”)). Indeed, the
the payment, but on whether the official has a “corrupt state     Second Circuit has held that the phrase “in exchange for”
of mind and accept[s] (or agree[s] to accept) the payment         sufficiently alleges a quid pro quo agreement and therefore
intending to be influenced in an official act.” Id. at 1955.      sustains a charge of bribery under Section 666. United States
The key inquiry is therefore “the timing of the agreement”        v. Benjamin, 95 F.4th 60, 74 (2d Cir. 2024). In so holding, the
between the parties, “not the timing of the payment.” Id. at      Second Circuit underscored that “in exchange for” connotes
1959. The Snyder Court held that a “reward given after the        an “unambiguous agreement to exchange an official public
act,” but “pursuant to an agreement beforehand,” would still      act ... for financial contributions.” Id. (emphasis added). 1
constitute a bribe within the meaning of Section 666. Id. at
1959. Indeed, the Court found that Section 666 incorporates        *4 Finally, Starks turns to the Complaint, which he asserts
the term “rewarded” in addition to “influenced” to precisely      contains the “fullest explication to date of the Government's
capture those arrangements where payment is received only         theory of the case” and “casts serious doubt as to whether
after the official act has been rendered, but pursuant to an      the Government is proceeding on a bribery theory or
existing agreement. Id. Therefore, to the extent that Starks      gratuities theory.” Reply Br. at 2. The Court disagrees. The
argues that the Indictment is deficient because it suggests       Complaint reiterates the basic thrust of the Indictment's “to
that contractors issued payments to Starks only after they had    wit” clause, namely, that at least in or about July 2020
already been awarded no-bid contracts, that argument misses       through at least in or about June 2022, “STARKS solicited
the mark.                                                         and accepted a total of at least approximately $7,000 in
                                                                  bribes in exchange for arranging for certain contractors to
Moreover, the Indictment language is clear that the               receive no-bid contracts from NYCHA worth a total of at
Government's theory of the case is premised on Stark's illegal    least approximately $35,000.” Compl. ¶ 1 (emphasis added).
receipt of bribes – not gratuities – and in arguing otherwise,    Therefore, the Complaint, like the Indictment, makes clear
Starks seeks to introduce an ambiguity on the face of the         that the Government is alleging a quid pro quo exchange.
Indictment where none exists. Starks contends that it is          Starks points to subsequent language in the Complaint which
not readily apparent whether the Government is alleging a         asserts that contractors made payments to Starks with the
gratuities theory or a bribes theory. See Def. Br. at 4 (“The     understanding that, if they neglected to do so, they would
Indictment...is equally susceptible to the interpretation that    “not be paid for the work [they] had completed or would
on certain occasions, after awarding a no-bid contract, Starks    not receive future NYCHA contracting work.” Compl. ¶¶
solicited or accepted a gift from the contractor who was          8(c), 9(c). This language, Starks insists, “suggests ... that the
awarded the work”); Reply Br. at 2 (“The fullest explication      contractor had already been selected for no-bid work and even
to date of the Government's theory of the case against            performed such work before developing an understanding
Starks ... casts serious doubt as to whether the Government is    that they would not be compensated unless they paid Sparks.”



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Reply Br. at 2. The Court rejects Starks’ characterization and     1987) (“A bill of particulars ... is not a discovery tool and is
finds no inconsistency between the Complaint's articulation        not intended to allow defendants a preview of the evidence or
of the charged conduct and the Government's bribery theory.        the theory of the government's case”).
The cited language just as readily suggests a prior agreement
between the parties whereby NYCHA's performance under              “The important question is whether the information sought
the no-bid contracts would be contingent on the contractors        is necessary, not whether it is helpful.” United States v.
paying Starks a “reward.” See, e.g., Snyder, 144 S. Ct. at         Horge, No. 19-cr-00096 (LTS), 2020 WL 6273932, at *3
1959 (a “reward given after the act pursuant to an agreement       (S.D.N.Y. Oct. 26, 2020) (citation omitted); accord United
beforehand” is a bribe). Indeed, that is the reading that          States v. Trippe, 171 F. Supp. 2d 230, 240 (S.D.N.Y. 2001).
is compelled when the Complaint's language is read in              “In deciding whether the bill of particulars is needed, the
conjunction with the “to wit” clause.                              court must determine whether the information sought has
                                                                   been provided elsewhere, such as in other items provided by
For these reasons, the Court does not find that Stark's motion     discovery,” or in other places. United States v. Payden, 613
satisfies the “high standard” for dismissal of an indictment,      F. Supp. 800, 818 (S.D.N.Y. 1985). “Where the defendant
Smith, 985 F. Supp. 2d at 561, and denies the motion.              has the necessary information from other sources, including
                                                                   discovery materials, the government will not be compelled to
                                                                   provide particulars.” U.S. v. Ahmad, 992 F. Supp. 682, 684
II. Starks’ Request for a Bill of Particulars                      (S.D.N.Y. 1998).
Starks asks in the alternative for a bill of particulars
“specifying the timing and circumstances of each of the             *5 The Court concludes that a bill of particulars is not
payments he is accused of soliciting or receiving from             warranted here. The Indictment and Complaint sufficiently
contractors.” Def. Br. at 2. Starks seeks “at a minimum the        advise Starks of the nature of the charges against him in
statements of contractor-witnesses whom the Government is          that they describe the acts that he committed, the nature
relying on for its claims,” asserting that this information is     of the crime of which he is accused, and the crime that is
necessary to “provide notice to Starks of the nature of the        charged. See, e.g., United States v. Block, No. 16-cr-00595
allegations against him, especially with respect to whether        (JPO), 2017 WL 1608905, at *6 (S.D.N.Y. Apr. 28, 2017)
his alleged solicitation and receipt of payments came before       (holding that indictment sufficiently advised defendant of the
or after he performed the official act of awarding a no-bid        charges against him where it described “the acts he allegedly
contract.” Id.                                                     committed, the nature of the [crime] of which he is accused,
                                                                   and it explains (in language closely tracking that of the
Even where dismissal of an indictment is not appropriate,          relevant statutes) the crimes alleged”).
pursuant to Federal Rule of Criminal Procedure 7(f),
a defendant may request a bill of particulars from the             In addition to the Indictment and Complaint, the Government
Government. However, “[a] bill of particulars should be            has provided substantial, additional information as to the
required only where the charges of the indictment are so           charged conduct through pre-trial discovery and disclosures.
general that they do not advise the defendant of the specific      The Government represents that it has produced records of
acts of which he is accused.” United States v. Torres, 901         the no-bid contracts for which Starks allegedly solicited and
F.2d 205, 234 (2d Cir. 1990), abrogated on other grounds by        accepted bribes. Gov't Opp. at 9. Moreover, on September
United States v. Marcus, 628 F.3d 36 (2d Cir. 2010). “Whether      27, 2024, after receiving the instant motion, the Government
to grant a bill of particulars rests within the sound discretion   sent defense counsel a disclosure letter with additional
of the district court.” United States v. Panza, 750 F.2d 1141,     information regarding the dates and locations of the alleged
1148 (2d Cir. 1984). “Acquisition of evidentiary detail is not     bribes. Dkt. 18-1. Furthermore, the Government has stated
the function of the bill of particulars.” Torres, 901 F.2d at      that it will provide Starks with Section 3500 materials
234 (citation omitted). Therefore, “a defendant is not entitled    sufficiently in advance of trial to prevent any prejudicial
to disclosure of the manner in which the [G]overnment will         surprise, along with a list of trial exhibits and a witness list.
attempt to prove the charge, the precise manner in which the       Gov't Opp. at 10.
[G]overnment will allege the defendant committed the crimes
charged, or a preview of the [G]overnment's evidence or            Starks fixates on the absence of information regarding the
legal theories.” Skelos, 2015 WL 6159326, at *13; see United       “timing of the alleged solicitation and receipt of payments
States v. Guerrerio, 670 F. Supp. 1215, 1224-25 (S.D.N.Y.


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                                                                   finds no need for a bill of particulars given the Government's
compared with the timing of when no-bid contracts were
                                                                   commitment to producing the requested information in
awarded.” Def. Reply at 3. As the Court has explained, under
                                                                   advance of trial. See, e.g., Chambers, 2018 WL 1726239, at
Snyder, the timing of the payments for the award of no-bid
                                                                   *2 (rejecting motion for bill of particulars where the Court
contracts does not answer the question of whether a Section
                                                                   “will require production of Jencks Act material in advance
666 violation occurred. Supra at pp. 6-8. In terms of the
                                                                   of trial to apprise the defendant of the essential facts.”); Ma,
solicitation, the Indictment charges that the payments were
                                                                   2006 WL 708559, at *15 (denying full motion for bill of
“in exchange for” the no-bid contracts, which would support
a Section 666 violation. Ind. ¶ 1. “In light of the Government's   particulars in light of discovery material already provided
                                                                   and Government's assurance that it would provide defendants
prior productions and disclosures, the additional ‘wheres,
                                                                   with Section 3500 material “sufficiently in advance of trial”).
whens, and with whoms’ ” sought by Starks “are of the type
                                                                   For this reason, the Court rejects Starks’ request, at this
‘routinely denied’ in the Second Circuit.” Horge, 2020 WL
                                                                   juncture, for “statements that contractors have made to the
6273932, at *3 (citing United States v. Ma, No. 03-CR-734
                                                                   Government about the circumstances of alleged payments
(DAB), 2006 WL 708559, at *14 (S.D.N.Y. Mar. 21, 2006));
                                                                   that Starks solicited or received from them.” Def. Br. at
see also United States v. Chen, 378 F.3d 151, 163 (2d Cir.
                                                                   8. The Court agrees with the Government that disclosure
2004) (district court did not abuse its discretion in denying
                                                                   of these statements at this stage would constitute an early
defendant a bill of particulars as to the “exact time and place
                                                                   disclosure of victim-witness statements that is not warranted.
of each alleged act associated with each offense identified
                                                                   See, e.g., United States v. Percevault, 490 F.2d 126, 132 (2d
in the indictment”). The Indictment is thus sufficiently clear
                                                                   Cir. 1974) (holding that Section 3500 prohibits a district court
that the Government is alleging the payment of bribes “in
                                                                   judge from compelling pretrial disclosure of government
exchange for” no-bid contacts, Ind. ¶ 1, and Starks can
                                                                   witnesses made over the government's objection); United
prepare his defense accordingly. Under the articulation in the
                                                                   States v. Coppa, 267 F.3d 132, 145 (2d Cir. 2001) (“Jencks Act
Indictment, the contractors necessarily agreed to pay Starks in
                                                                   prohibits a District Court from ordering the pretrial disclosure
exchange for the issuance of the no-bid contracts, even if the
payments themselves followed later. To the extent that Starks      of witness statements”). 2
seeks specific dates and times on which agreement between
the parties was reached or payments were exchanged, such           Therefore, based on the Complaint, the Indictment, and the
information might “aid the defendant” in his preparation but is    totality of the pretrial disclosures to date, the Court finds that
not “necessary” for his defense. Trippe, 171 F. Supp. 2d at 240    Starks has been put on sufficient notice of the charges against
(“[T]he proper test in deciding whether a bill of particulars      him, and therefore denies Starks’ alternative Motion for a bill
should be required of the Government is whether the bill           of particulars.
of particulars is necessary for the defense, not whether it
would aid the defendant in his preparation.”); see United
States v. Shteyman, No. 10-cr-00347 (SJ), 2011 WL 2006291,                                CONCLUSION
at *4 (E.D.N.Y. May 23, 2011) (“[T]his Circuit consistently
sustains wide latitude with date ranges within the indictment      For the reasons set forth above, Starks’ motion to dismiss
where the indictment, as is the case here, tracks the language     Count One of the Indictment, or in the alternative, for a bill
of the statutes defendants are charged with violating.”).          of particulars, is DENIED. The Court of Clerk is respectfully
                                                                   requested to close the Motion at Dkt. 17.
 *6 In any event, as mentioned earlier, the Government
has represented that it will turn over contractors’ witness        SO ORDERED.
statements, including details about the timing of those
payments, “sufficiently in advance of trial pursuant to the
Jencks Act” and that “[t]here will therefore be no surprise        All Citations
at trial as to this information.” Gov't Opp. at 10. The Court
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                                                    Footnotes


1     Starks contends that Benjamin is inapposite because it pre-dates Snyder and because it “did not concern the
      question of whether a payment was a gratuity or whether it was a bribe.” Reply Br. at 1. Snyder, however, in
      no way disturbs the finding in Benjamin that the phrase “in exchange for” sufficiently conveys an “agreement
      to exchange an official public act ... for financial contributions.” Benjamin, 95 F.4th at 73-74. That is exactly
      what is conveyed in the Indictment – Starks entered into agreements to “arrang[e] for certain contractors to
      receive no-bid contracts” in exchange for “at least approximately $18,500 in bribes.” Ind. ¶ 1.

2     The Government separately argues that Starks did not comply with the procedural requirement to confer with
      the Government prior to the filing of his motion for a bill of particulars, as set forth in Local Criminal Rule
      16.1, and that his failure to do so necessitates dismissal. Gov't Opp. at 7. The Court rejects Starks’ motion on
      the merits and therefore need not reach the question of whether Starks should have followed this procedural
      step in the context of seeking alternative relief to his motion to dismiss.



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